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                    EXHIBIT 3
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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                          Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,


                          Plaintiffs,
   v.


   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD               Civil Action No. 3:17-cv-00072-NKM
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,


                          Defendants.



               PLAINTIFFS’ SECOND SET OF INTERROGATORIES
                     TO ALL INDIVIDUAL DEFENDANTS
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        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiffs, by their

 undersigned counsel, hereby request that Defendants answer under oath the Interrogatories set

 forth below within the time specified in Rule 33, unless otherwise agreed by the parties or

 required by any scheduling order entered by the Court in this action.

         The Definitions and Instructions that appear below form an integral part of the

  Interrogatories that follow and must be read in conjunction with them and followed when

  responding to the Interrogatories.

                                          DEFINITIONS

         In each Definition, the singular shall include the plural and the plural shall include the

  singular. Terms used herein shall have the following meanings:

         1.     “Act of Violence” means, in addition to its customary and usual meaning, any act

 of threatening, intimidating, provoking, striking, shooting, or assaulting another person or

 persons in any manner, or attempts to do the same, including but not limited to punching,

 kicking, pushing, shooting, stabbing, burning, throwing objects or fluid or fire at or toward, or

 driving a car toward or into another person or persons.

        2.      “Advertise” means, in addition to its customary and usual meaning, to

 Communicate in any manner designed to encourage any behavior such as attendance, including

 but not limited to posting a message, poster, billboard, banner, flyer, article or other Document in

 any public place, whether online or in any physical space (an “Advertisement”).

        3.      “Affiliate,” in addition to its customary and usual meaning, means to associate

 with, connect to, relate to, partner with, ally with, identify with, share with, derive from, be a

 member of, or be a participant of.




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        4.      “Amended Complaint” means the amended complaint filed in the above-captioned

 litigation as ECF docket entry number 175.

        5.      “Communication” or “to Communicate” means, in addition to its customary and

 usual meaning, every contact of any nature, whether documentary, electronic, written or oral,

 formal or informal, at any time or place and under any circumstances whatsoever whereby

 information of any nature is transmitted or transferred by any means, including, but not limited to

 letters, memoranda, reports, emails, text messages, instant messages, social media postings,

 gaming consoles or platforms, invoices, telephone conversations, voicemail messages, audio

 recordings, face-to-face meetings and conversations, or any other form of correspondence, and

 any Document relating to such contact, including but not limited to correspondence, memoranda,

 notes or logs of telephone conversations, e-mail, electronic chats, text messages, instant

 messages, direct or private messages, correspondence in “meet ups” or chat rooms, and all other

 correspondence on Social Media. Without limiting the foregoing in any manner, commenting as

 well as any act of expression that is not directed at a specific person, or otherwise may not be

 intended to provoke a response (such as a social media posting, “likes,” “shares,” or any other

 form of reacting to another’s use of Social Media), are forms of Communication.

        6.      “Concerning” means, in addition to its customary and usual meaning, alluding to,

 confirming, constituting, comprising, containing, commenting upon, discussing, describing,

 embodying, evaluating, evidencing, identifying, in connection with, involving, mentioning,

 noting, pertaining to, probative of, related to, relating to, reflecting, referring to, regarding,

 setting forth, supporting, stating, showing, touching upon, dealing with, assessing, recording,

 bearing upon, connected with, in respect of, about, indicating, memorializing, proving,




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 suggesting, having anything to do with, contradicting, and/or summarizing in any way, directly

 or indirectly, in whole or in part, the subject matter referred to in the Interrogatory.

        7.      “Contact” means, in addition to its customary and usual meaning, to meet, touch,

 or Communicate with another person in any manner, (written, verbal, or non-verbal) including in

 person, on the telephone or mobile device, or online, whether or not You personally exchanged

 words with the other person or whether you used an intermediary.

        8.      “Criminal Proceeding” means without limitation any federal or state action

 involving an infraction, violation, misdemeanor, felony or other offense.

        9.      “Describe in Detail” means, in addition to its customary and usual meaning, to

 provide a complete description and explanation of the facts, circumstances, analysis, opinion and

 other information relating to the subject matter of a specific Interrogatory.

        10.     “Document” or “Documents” means documents broadly defined in FRCP Rule

 34, and includes (i) papers of all kinds, including but not limited to, originals and copies,

 however made, of letters, memoranda, handwritten notes, notebooks, messages, agreements,

 rough drafts, drawings, sketches, pictures, posters, pamphlets, publications, news articles,

 Advertisements, sales literature, brochures, announcements, bills, receipts, credit card statements,

 and (ii) non-paper information of all kinds, including but not limited to, any computer generated

 or electronic data such as digital videos, digital photographs, audio recordings, podcasts, Internet

 files (including “bookmarks” and browser history), online articles and publications, website

 content, electronic mail (e-mail), electronic chats, instant messages, text messages, uploads,

 posts, status updates, comments, “likes”, “shares”, direct messages, or any other use of Social

 Media, and (iii) any other writings, records, or tangible objects produced or reproduced




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 mechanically, electronically, or photographically. Without limiting the foregoing in any way,

 every Communication is also a Document.

        11.     “Entity Defendants” means any of Defendants in the above-captioned matter who

 are not natural persons, including Vanguard America; Moonbase Holdings, LLC; Identity

 Evropa; Traditionalist Worker Party; League of the South; National Socialist Movement;

 Nationalist Front; Fraternal Order of the Alt-Knights; Loyal White Knights of the Ku Klux Klan;

 and East Coast Knights of the Ku Klux Klan, a/k/a East Coast Knights of the True Invisible

 Empire.

        12.      “Events” means the occurrences and activities described in Paragraphs 45 to 335

 of the Amended Complaint.

        13.     “Government Official” means, in addition to its customary and usual meaning,

 any employee, agent, representative, or member, of any governmental agency, body, or office,

 whether local, municipal, state or federal, including but not limited to any elected official and his

 or her representatives or designees.

        14.     “School Official” means, in addition to its customary and usual meaning, any

 employee, agent, or representative of any school or university, at any level of education, whether

 or public of private, including but not limited to any employee, agent, or representative of the

 University of Virginia.

        15.     “Law Enforcement” means, in addition to its customary and usual meaning, any

 police officer, detective, agent, security officer, prosecutor or any other representative of any

 private, municipal, local, state, federal or university police or security department.




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        16.     “Promotional Material” means, in addition to its customary and usual meaning,

 any Document that Advertises, promotes, or encourages any sort of behavior, such as attendance

 at an event.

        17.     “Social Media” means any forum, website, application, or other platform on

 which persons can create, transmit, share, Communicate concerning, or comment upon any

 information, ideas, or opinions, or otherwise engage in social networking. Without limiting the

 foregoing in any manner, and by way of example only, the following are Social Media platforms:

 comment sections of websites, Facebook, Discord, Gab, Reddit, Imgur, Snapchat, Instagram,

 Google+, 4chan, 8chan, Twitter, Tumblr, YouTube, VK (also known as VKontakte or

 ВКонта́кте), Stormfront, Minds, WrongThink, Voat, BitChute, PewTube, and instant messaging

 services such as Signal, WhatsApp, Messenger, Hangouts, Telegram, or Skype. Without limiting

 the foregoing in any manner, and by way of example only, the following are methods of using

 Social Media platforms: uploading, posting, commenting, reacting (e.g., “liking” a post), and

 sharing.

        18.     “Unite the Right” means the events described in Paragraphs 133 to 254 of the

 Amended Complaint, namely the marches, protests, demonstrations, rallies, gatherings,

 associations, meetings, congregations, celebrations, conventions, or assemblies that occurred the

 weekend of August 11, 2017 through August 12, 2017 in Charlottesville, Virginia.

        19.     “You,” “Your,” “Yours,” “Defendant,” and “Defendants” refer to the Defendants

 in the above-captioned matter and includes any persons or entities acting for them or on their

 behalf, including but not limited to all representatives, agents, employees, officers, affiliates,

 subsidiaries, parent companies, third parties, and attorneys, as well as any entities over which

 any of the Defendants have control.



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        20.        “Weapon” means any object designed for or with the potential to be intentionally

 used for inflicting bodily harm or physical damage or to attempt or threaten to do the same,

 including but not limited to a firearm, Tiki Torch, lighter fluid or other flammable liquid, pepper

 spray, knife, baton, bat, rod, explosive, grenade, tear gas, armor, helmet, flagpole, pipe, earpiece,

 or radio.

        21.        Any other term used in these Interrogatories shall be given its broadest

 meaning(s), as defined in accordance with standard American use or as shown in a dictionary of

 the English language.

                                           INSTRUCTIONS

        A.         Where an Interrogatory requests knowledge or information are requested, such

 Interrogatory encompasses knowledge and information in your possession, custody, or control,

 or in the possession, custody, or control of your staff, agents, employees, representatives, and,

 unless privileged, attorneys, or any other person who has possession, custody, or control of your

 proprietary knowledge or information.

        B.         When the term “identify” is used in these Interrogatories, please supply the

 following information:

              i.   when used in reference to a natural person, state the person’s full name, present

                   or last known business and residential addresses, present or last known telephone

                   numbers or other contact information, and present or last known employment

                   position or business affiliation;

             ii.   when used in reference to any person who is not a natural person, state the full

                   name, present or last known address, and present or last known telephone

                   number or other contact information;



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          iii.   when used in reference to an object, state the nature, type, and location of the

                 object and identify the person (natural or non-natural) who has custody or control

                 over the object.

        C.       If, in responding to any of the following Interrogatories, you encounter any

 ambiguity or confusion in construing either an Interrogatory or a Definition or Instruction

 relevant to an Interrogatory, set forth the matter deemed ambiguous, select a reasonable

 interpretation that you believe resolves the ambiguity, respond to the Interrogatory using that

 interpretation, and explain with particularity the construction or interpretation selected by you in

 responding to the Interrogatory.

        D.       References to any natural person shall be deemed to include that natural person’s

 agents, representatives, current and former employees, and successors.

        E.       References to any non-natural person (e.g., corporation, partnership, entity,

 membership organizations) shall be deemed to include that non-natural person’s predecessors,

 successors, divisions, subsidiaries, parents, assigns, partners, members, and affiliates, foreign or

 domestic, each other person directly or indirectly, wholly or in part, owned by, controlled by, or

 associated with them, and any others acting or purporting to act on their behalf for any reason,

 and the present and former officers, directors, partners, consultants, representatives, employees,

 assigns, attorneys, and agents of any of them.

        F.       The use of the singular form of any word includes the plural and vice versa.

        G.       The use of the past tense includes the present tense and vice versa, as necessary to

 bring within the scope of each request all responses that might otherwise be considered outside

 its scope. Whenever a term is used herein in the present, past, future, subjunctive, or other tense,

 voice, or mood, it shall also be construed to include all other tenses, voices, or moods.



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           H.    The terms “and” and “or” should be construed either disjunctively or

  conjunctively as necessary to bring within the scope of the discovery request all responses that

  might otherwise be construed to be outside of its scope.

           I.    The term “each” means “each, any, or all” as necessary to bring within the scope

  of the discovery request all responses that might otherwise be construed to be outside of its

  scope.

           J.    The obligation to respond to these Interrogatories is continuing in nature and

  requires further response if additional information is obtained or located by you after the time of

  your initial answer.

           K.    If you believe that an Interrogatory calls for production of a Document or

  Communication, or requires disclosure of information, claimed by you to be protected by

  privilege or as attorney work product, or subject to non-disclosure on any other basis, furnish a

  list identifying the Documents, Communications, or information for which the protection is

  claimed together with the following (if applicable): the type of Document or Communication; the

  date or dates of the Document or Communication; the name, position, and address of each person

  who participated in the Document or Communication, to whom the Document or

  Communication was addressed, or to whom the Document or Communication or the contents

  thereof have been Communicated by any means; the general subject matter of the Document,

  Communication, or information; the specific basis for nonproduction or non-disclosure; and a

  description that you contend is adequate to support your contention that the Document,

  Communication, or information may be withheld from production and/or disclosure.              If a

  Document or Communication is withheld on the ground of attorney work product, also specify




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  whether the Document or Communication was prepared in anticipation of litigation and, if so,

  identify the anticipated litigation(s) upon which the assertion is based.

         L.      If the answer to all or part of an Interrogatory is that you lack knowledge of the

  requested information, set forth such remaining information as is known to you and describe all

  efforts made by you or by your attorneys, accountants, agents, representatives, or experts, or by

  any professional employed or retained by you, to obtain the information necessary to answer the

  interrogatory. If any approximation can reasonably be made in place of unknown information,

  also set forth your best estimate or approximation, clearly designated as such, in place of

  unknown information, and describe the basis upon which the estimate or approximation is made.

         M.      In answering each Interrogatory, you shall identify each Document relied upon

  that forms the basis for your answer or in any way corroborates your answer or the substance of

  your answer.

         N.      A response identifying Documents falling within the scope of these

  Interrogatories shall state that the Documents have or will be produced, unless the Interrogatory

  is objected to, in which event the reasons for objection shall be specifically stated.

         O.      To the extent you object to any of the following Interrogatories, state each ground

  for your objection in detail. If you consider only a portion of the Interrogatory objectionable,

  respond to the remainder of the Interrogatory, and separately state the part of each Interrogatory

  to which you object and specify in detail the grounds for each objection.


                                        INTERROGATORIES

         1.      Identify and Describe in Detail each Contact or Communication of any kind you

  had with each one of the other Defendants between January 2017 and August 13, 2017, including




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  the nature or content of the Contact or Communication, where and when the Contact or

  Communication took place, and anyone else who participated in the Contact or Communication.

         2.      Identify all expenses You incurred in planning, organizing, or attending the Unite

  the Right rally and the sources of funding and method of payment used to satisfy those expenses.

         3.      Identify and Describe in Detail each case in which You were charged in a

  Criminal Proceeding that resulted in a conviction, whether state or federal, including for each

  such case: the full title of the action, court, docket number, a description of the allegations, the

  disposition, and the sentence.

         4.      Identify each legal matter, whether federal, state, criminal, civil, administrative, or

  otherwise, concerning the Events in which You have been or participated as a party or a witness,

  including but not limited to giving any testimony in depositions, hearings, trials, or any other

  legal proceeding.

         5.      Describe in Detail any instance in which You Advertised or promoted the Unite

  the Right rally, whether online or otherwise, including where, when, how, and for what period of

  time You displayed any Advertisement or Promotional Material and the content of such

  Advertisement or Promotional Material.

         6.      Identify each Communication concerning the Events that You had with each

  member of Law Enforcement, whether before, after, or during the Events, including the name of

  the member of Law Enforcement, when, where, and how each Communication took place, and

  the nature or content of that Communication.

         7.      Identify each Communication concerning the Events You had with any

  Government Official, whether before, after, or during the Events, including the name of the




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  Government Official, when, where, and how each Communication took place, and the nature or

  content of each Communication.

          8.      Identify each Communication concerning the Events You had with any School

  Official, whether before, after, or during the Events, including the name of the School Official,

  when, where, and how each Communication took place, and the nature or content of that

  Communication.

          9.      Describe any relationship You have had from January 2017 to the present with

  any of the Entity Defendants, including any titles, affiliations, positions, or roles You have held

  within any of those organizations, the responsibilities associated with each such title, affiliation,

  position, or role, and any responsibilities You had within any of those organizations that were

  not associated with any title, affiliation, position, or role

          10.     For each Act of Violence perpetrated by or against a Defendant or a Plaintiff,

  identify and Describe in Detail each such Act of Violence, where and when such Act of Violence

  took place, who was involved in such Act of Violence, the nature of the Act of Violence, and any

  person known to You to have firsthand knowledge of such Act of Violence.

          11.     Identify and Describe in Detail any Weapon You possessed or carried at any point

  during Unite the Right, including the kind of Weapon You possessed or carried, and when,

  where, why, and how You acquired that Weapon; if You did not possess or carry any Weapon

  during Unite the Right, you should so state instead.

          12.     Identify and Describe in Detail any direction or encouragement You gave for any

  other person to bring a Weapon to Unite the Right, including the kind of Weapon, the time,

  place, and manner in which You Communicated the direction or encouragement to bring a




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  Weapon, and the person to whom You Communicated the direction or encouragement; if You

  did not provide such direction or encouragement, You should so state instead.



         Dated: October 29, 2019

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                                                     Gabrielle E. Tenzer (pro hac vice)
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                                                     Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 29, 2019, I provided copies of Plaintiffs’ Second Set of
  Interrogatories to Individual Defendants and Plaintiffs’ Second Set of Interrogatories to Entity
  Defendants via email to the following:

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